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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI

    Monica Webb, et al.,
                   Plaintiffs,
                      -v-                         Case No. 4:19-cv-02712-DDN
    Aesthetic Physicians, P.C., et al.,
                  Defendants.

                MEMORANDUM IN OPPOSITION TO MOTION TO DISMISS

                                      Procedural Posture

      As explained below, no party requests that the Court rule defendants' pending

motion to dismiss (the "present motion"; Doc 24) in that: defendants expressly

request leave to withdraw the motion (Doc 36); and plaintiffs contend (and

defendants appear tacitly to agree) that unless the present motion is withdrawn in a

manner that erases it from the record, the Court must expeditiously remand without

reaching the merits of the motion. Either way, the Court cannot reach the merits of

the present motion: it will either grant defendants leave to withdraw the motion, or

it will remand without reaching the motion.1

      Out of an abundance of caution, plaintiffs also make the following minimal

response:




1 In the event the Court denies plaintiffs' motion for remand and grants defendants
leave to file the motion to dismiss that has been attached as an exhibit to
defendants' motion for leave to withdraw (see Doc 36), then plaintiffs will respond
to that new motion to dismiss based upon the date the Court grants leave for that
motion to be filed.
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    (i) Plaintiffs have pleaded an ascertainable loss under the benefit of the

 bargain rule in the manner required by Missouri state courts that have examined

 this element of the Missouri Merchandising Practice Act, including: Murphy v.

 Stonewall Kitchen, LLC, 503 S.W.3d 308, 313 (Mo. Ct. App. 2016) ("because

 Murphy alleged the mix was worth less than the product as represented, he

 stated an objectively ascertainable loss under the MMPA using the benefit-of-the-

 bargain rule"); Plubell v. Merck & Co., 289 S.W.3d 707, 715 (Mo. Ct. App. 2009)

 ("because Plaintiffs alleged Vioxx was worth less than the product as

 represented, they stated an objectively ascertainable loss under the MMPA using

 the benefit-of-the-bargain rule"); Schoenlein v. Routt Homes, Inc., 260 S.W.3d 852,

 855 (Mo. Ct. App. 2008) (MMPA damages are ascertainable as "the difference

 between the actual value of the property and the value if it had been as

 represented"); Raster v. Ameristar Casinos, Inc., 280 S.W.3d 120, 124 (Mo. Ct. App.

 2009) (casino gamblers suffered ascertainable loss under the MMPA where a

 casino changed its awards club rules, causing "loss" of cash-back comps and

 awards club card status). See also In re Shelton, 481 B.R. 22, 31 (Bankr. W.D. Mo.

 2012) (loss of home to foreclosure is ascertainable MMPA loss); see also Doc 18,

 ¶¶ 42, 42, 44, 45, & 46.

    (ii) Plaintiffs have met the Rule 9(b) pleading requirement. See Doc 18, ¶¶ 27

 & 28. See also Doc 18, Exhibits D, E, F, G, H, & I, which each (i) contain the actual

 representation at issue, as it was made; (ii) is signed and dated by a plaintiff, who


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     attests she read the representation; and (iii) is signed and dated by a Sono Bello

     physician, who attests he discussed the representation with the plaintiff. See also

     Claims 2-7 (Doc 18, pp. 16-21), which specifically allege: (i) the date of each

     representation (first paragraph of each claim); the place of each representation

     (second paragraph of each claim); the content of each representation (second

     paragraph of each claim); and the dollar amount obtained/given based on each

     representation (third paragraph of each claim).2

        (iii) "Missouri has expressed its clear intent to ensure that Missouri

     consumers can adjudicate chapter 407 claims [MMPA claims] in Missouri

     courts." Andra v. Left Gate Prop. Holding, Inc., 453 S.W.3d 216, 234 (Mo. 2015).

     That includes plaintiffs Holloway and Butts, who are Missouri consumers (Doc

     18, ¶ 6). Furthermore, because defendants have purposefully availed themselves

     of the benefits and protections of Missouri by operating Sono Bello St. Louis in

     Missouri (Doc 18, ¶ 18, 20, & 21), defendants should reasonably anticipate being

     haled into court in Missouri. Viasystems, Inc. v. EBM-Papst St. Georgen GmbH &

     Co., KG, 646 F.3d 589, 594 (8th Cir. 2011); see also Doc 18, ¶¶ 19, 29, & 30. In

     addition, general jurisdiction is properly asserted over defendants, under




2 If the Court determines that Claim 8 fails under Rule 9(b) because Kim Thompson
alleges that Sono Bello made the representation in a standardized form presented to
her at Sono Bello St. Louis on December 14, 2015 but fails to attach a copy of the
form identifying the physician who discussed the form with her, then Ms. Thompson
requests additional time to file a motion for leave to amend her pleading to state
that Dr. Richard Shatz was that physician.
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 Missouri Law, because defendants are present and conducting substantial

 business in Missouri. Viasystems, at 595 (8th Cir. 2011), citing State ex rel. K–

 Mart Corp. v. Holliger, 986 S.W.2d 165, 167 (Mo. banc 1999); see also Doc 18, ¶¶

 18, 19, 20, 21, 29, & 30.

                                                Respectfully Submitted by:

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